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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

  JUSTTECH, LLC, a Maryland limited
  liability company,                               Case No. 1:22-cv-22454-JLK

        Plaintiff,

  v.

  KASEYA US LLC, a Delaware limited
  liability company,

        Defendant.



                             DEFENDANT KASEYA US, LLC’S
                     RULE 7.1 CORPORATE DISCLOSURE STATEMENT

         Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Defendant Kaseya US LLC

  (“Kaseya”), by and through its undersigned counsel, hereby certifies that Kaseya is a wholly

  owned subsidiary of Kaseya, Inc., a Delaware corporation and a privately-held corporation.

                                                          QUINN EMANUEL URQUHART
        Dated: August 17, 2022                            & SULLIVAN, LLP

                                                    By: /s/ Olga M. Vieira
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 17th day of August 2022, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing is being

  served this day on all counsel of record in the manner specified, either via transmission of

  Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for those

  counsel who are not authorized to receive Notice of Electronic Filing.



                                                By: /s/ Olga M. Vieira
                                                    Olga M. Vieira
                                                    Fla. Bar No. 29783
